Case 3:19-cv-00942-S-BK Document 20 Filed 09/24/20 Pagelofi PagelD 858

IN THE UNITED STATES DISTRICT COURT

FOR THE NORTHERN DISTRICT OF TEXAS '
DALLAS DIVISION

VERONICA M., §
§
PLAINTIFF, §
§

V. § Civit CASE No. 3:19-CV-942-S-BK
§
COMMISSIONER OF §
SOCIAL SECURITY ADMINISTRATION, §
§
DEFENDANT. §

ORDER ACCEPTING FINDINGS, CONCLUSIONS AND RECOMMENDATION
OF THE UNITED STATES MAGISTRATE JUDGE

United States Magistrate Judge Renée Harris Toliver made findings, conclusions and a
recommendation in this case. No objections were filed. The Court reviewed the proposed findings,
conclusions and recommendation for plain error. Finding none, the Court ACCEPTS the
Findings, Conclusions and Recommendation of the United States Magistrate Judge. Plaintiffs
motion, Doc. 17, is DENIED, Defendant’s motion, Doc. 18, is GRANTED, and the
Commissioner’s decision is AFFIRMED.

SO ORDERED.

SIGNED SeptemboY, 2020.

   

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‘KAREN GREN SCHOLER
UNITED STATES DISTRICT JUDGE

 

 
